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                                                             1    HOLLAND & KNIGHT LLP
                                                                  Shelley G. Hurwitzth (State Bar #217566)
                                                             2    400 S. Hope St., 8 Floor
                                                                  Los Angeles, California 90071-2040
                                                             3    Telephone (213) 896-2400
                                                                  Facsimile (213) 896-2450
                                                             4
                                                             5    Attorneys for Defendant, Cross-Complainant,
                                                                  and Cross-Defendant Victor Technologies
                                                             6    International, Inc., erroneously sued herein as Victor
                                                                  Technologies International, Inc.; Turbotorch
                                                             7
                                                             8                              UNITED STATES DISTRICT COURT
                                                             9          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                             10
                                                             11 MITCHELL WALTER,                              CASE NO. SACV 13-1503 JLS (ANx)
                       Tel: 213.896.2400 Fax: 213.896.2450




                                                             12                Plaintiff,                     MEMORANDUM OF POINTS AND
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                                                                                                              AUTHORITIES IN SUPPORT OF
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                                                             13         v.                                    MOTION TO ENFORCE
                              Los Angeles, CA 90071




                                                                                                              SETTLEMENT AGREEMENT
                                                             14 WESTERN INDUSTRIES, INC.,
                                                                VICTOR TECHNOLOGIES
                                                             15 INTERNATIONAL, INC.,
                                                                TURBOTORCH; GOSS, INC. and                    Date: March 20, 2015
                                                             16 DOES 1 through 100, Inclusive,                Time: 2:30 pm
                                                                                                              Courtroom 10a
                                                             17                Defendants.
                                                             18
                                                             19                                               Trial Date:       May 12, 2015
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                                                             1                   MEMORANDUM OF POINTS & AUTHORITIES
                                                             2    I.    INTRODUCTION
                                                             3                 Plaintiff Mitchell Walter (“Plaintiff”) entered into an explicit agreement
                                                             4    to settle this matter with defendant Victor Technologies International, Inc. (“Victor”)
                                                             5    for a payment by Victor to Plaintiff of $27,500. Plaintiff has now refused to adhere
                                                             6    to the settlement and honor his agreement.
                                                             7          This court has the inherent authority to enforce this settlement agreement, and
                                                             8    should exercise it because the settlement between these parties is complete, and the
                                                             9    terms and conditions are understood – a payment in exchange for dismissal of the
                                                             10 action. Victor respectfully requests that this Court enter an order enforcing the
                                                             11 settlement agreement and require Plaintiff to dismiss this action against Victor in
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                                                             12 exchange for a payment of $27,500.
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                                                             13 II.
                              Los Angeles, CA 90071




                                                                        STATEMENT OF FACTS
                                                             14         A.     Plaintiff’s Claims
                                                             15         Plaintiff Mitchell Walter sustained burn injuries while using a handheld-torch
                                                             16 manufactured by Victor, that was attached to a MAPP gas cylinder manufactured by
                                                             17 defendant Western Industries (“Western”) and sold by defendant Goss, Inc. (“Goss”).
                                                             18 He filed this product liability matter on August 16, 2013, which was removed to this
                                                             19 court under diversity jurisdiction on September 23, 2013. See Dkt. No. 1.
                                                             20         Plaintiff’s burn injuries have all resolved. See Walter Trans, Pg. 80, Exh. 8.
                                                             21 He has no visible scars, and does not experience any pain associated with the injuries
                                                             22 he sustained. See Walter Trans, Pgs. 91. He has no permanent disability, requires no
                                                             23 further treatment and is back to work full-time. See id. His medical bills totaled
                                                             24 $27,000 and were paid by his employer’s worker’s compensation insurance. See
                                                             25 Walter Trans, Pg. 53; See also Plaintiff’s Supplemental Initial Disclosures, Exh. 8.
                                                             26 Mr. Walter was reimbursed by the worker’s compensation insurer for all out-of-
                                                             27 pocket expenses related to the incident. See Walter Trans, Pg. 55. Mr. Walter has
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                                                                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1    stated a loss of earnings claim of $7,000. Plaintiff’s Supplemental Initial Disclosures,
                                                             2    Exh. 9.
                                                             3          B.     Plaintiff Settles With Victor For a Payment of $27,500
                                                             4          All parties engaged in a mediation on September 30, 2014. Hurwitz Decl., ¶3.
                                                             5    No parties settled at that mediation. Id. In December 2014, Plaintiff and Victor
                                                             6    renewed negotiating a settlement of Plaintiff’s claims against Victor and exchanged
                                                             7    several offers and demands by telephone. On or about December 29, 2014, Victor’s
                                                             8    counsel, Shelley Hurwitz called Plaintiff’s counsel Kevin Liebeck and made a
                                                             9    settlement offer from Victor to Plaintiff of a payment of $27,500 in exchange for the
                                                             10 dismissal of Plaintiff’s claims against Victor. Mr. Liebeck confirmed that he would
                                                             11 speak to his client about this offer, and that he would get back to Ms. Hurwitz. Ms.
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                                                             12 Hurwitz also advised Mr. Liebeck during that call that Victor would be moving for a
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                                                             13 good faith settlement determination once he accepted Victor’s settlement offer.
                              Los Angeles, CA 90071




                                                             14         In response to plaintiff’s October 29, 2014 offer, Mr. Liebeck emailed Ms.
                                                             15 Hurwitz the next day (December 30, 2014) and accepted, in writing and on his
                                                             16 client’s behalf, Victor’s offer to settle this action for $27,500:
                                                             17          “Shelly, Plaintiff will settle at $27,500 as to Victor ONLY. Best, Kevin.”
                                                             18 Hurwitz Decl., ¶5, Exh. 1.
                                                             19         Victor and Plaintiff’s settlement agreement was explicit and unambiguous.
                                                             20 Accordingly, Victor began to act in reliance on it. Hurwitz., ¶6.
                                                             21         In further confirmation of the settlement agreement, Victor sent a formal
                                                             22 settlement agreement to Plaintiff, with a stipulation for entry of an order deeming the
                                                             23 settlement to be in good faith, on January 2, 2015. Hurwitz Decl., ¶5, Exh. 11.
                                                             24         Then, in further reliance on the settlement agreement, Victor emailed Goss and
                                                             25 informed them of the settlement agreement and subsequently Victor and Goss
                                                             26 exchanged emails in which they agreed to dismiss their cross-claims against each
                                                             27 other. Hurwitz Decl., ¶9-10; Exhs. 3-4. The stipulation of dismissal of Victor’s
                                                             28 cross-claim was the served on Plaintiff on January 7, 2015. Hurwitz Decl., ¶10.
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                                                                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1             Victor then conferred with all counsel in an effort to obtain a stipulation to the
                                                             2    good faith of the settlement, or to hold a Rule 7 Local Meeting of Counsel in
                                                             3    preparation for a motion for a good faith settlement. Hurwitz Decl., ¶9; Exh. 3.
                                                             4             Finally, in reliance on the settlement agreement with plaintiff, Victor instructed
                                                             5    its expert to cease all further work. Hurwitz Decl., ¶12; Exh. 6.
                                                             6             C.    Plaintiff Refuses To Adhere To His Obligations Under The
                                                             7                   Settlement
                                                             8             On January 7, 2015, Mr. Liebeck telephoned Victor’s counsel and advised her
                                                             9    that he intended to renege on the parties’ explicit agreement to settle this matter.
                                                             10 Specifically, he said that Plaintiff would no longer dismiss his claims in exchange for
                                                             11 a payment of $27,500 because he believed Western’s expert report contained a theory
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                                                             12 of liability against Victor. He did not specify what that theory was, nor did he
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                                                             13 reference any theory that plaintiff had against Victor. 1
                              Los Angeles, CA 90071




                                                             14 III.       ARGUMENT
                                                             15            A.    This Court Has The Authority To Enforce The Settlement
                                                             16                  Agreement
                                                             17            "It is well settled that a district court has the equitable power to enforce
                                                             18 summarily an agreement to settle a case pending before it." Callie v. Near, 829 F.2d
                                                             19 888, 890 (9th Cir. 1987); See also Dacanay v. Mendoza, 573 F.2d 1075, 1078 (9th
                                                             20 Cir.1978). As plaintiff’s claims remain pending, this court has the jurisdiction to
                                                             21 consider this motion.
                                                             22
                                                             23
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                                                             25   Defendant Western Industries served its expert report on January 5, 2015. A true
                                                                and correct copy of Plaintiff’s experts’ report is attached as Exhibit 7 to the Hurwitz
                                                             26 Declaration. Western Industries’ expert report was not directed towards Victor and
                                                                contains no design or manufacturing defect theory of liability against the hand-held
                                                             27 torch manufactured by Victor. See id. Further, plaintiff’s own expert report also
                                                                concluded that the Victor torch performed properly: “. . . the Victor Turbotorch did
                                                             28 not fail in the incident that caused injuries to Mr. Walter.”
                                                                                                              3
                                                                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1                 1.    This Court Has The Inherent Authority To Enforce A
                                                             2                       Completed Settlement Agreement
                                                             3          A federal court has inherent authority to enforce settlement agreements that
                                                             4    have not been reduced to a formal written settlement agreement (even if reached
                                                             5    outside court) pursuant to motion. Schwarzner, Tashima & Wagner, Fed. Civ. Proc.
                                                             6    Before Trial, §1:1124 [Rutter]. The power to enforce a settlement can be exercised
                                                             7    as long as the terms have been agreed to, even if none of its terms was put on the
                                                             8    record or reduced to writing, so long as the moving party demonstrates there was in
                                                             9    fact such an agreement. Id.
                                                             10         In Hensley v. Alocon Laboratories, 277 F.3d 535 (4th Cir. 2002), the defendant
                                                             11 employer removed a wrongful termination case to federal court under diversity
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                                                             12 jurisdiction. Id. at 538. The parties settled the matter at a settlement conference (but
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                                                             13 not on the record) for $9,000, and exchanged drafts of a written settlement
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                                                             14 agreement. Id. The plaintiff thereafter refused to sign the settlement agreement. Id.
                                                             15 The defendant filed a motion to enforce the settlement. Id. In considering the
                                                             16 plaintiff’s appeal of the district court's grant of the enforcement motion, the Fourth
                                                             17 Circuit explained:
                                                             18         [D]istrict courts have inherent authority, deriving from their equity
                                                             19         power, to enforce settlement agreements. The exercise of this authority
                                                             20         has the practical effect of entering a judgment by consent. Because
                                                             21         exercise of the authority to enforce settlement agreements depends on
                                                             22         the parties' agreement to a complete settlement, the court cannot enforce
                                                             23         a settlement until it concludes that a complete agreement has been
                                                             24         reached and determines the terms and conditions of that agreement. . . .
                                                             25         Thus, if an agreement for complete settlement of the underlying
                                                             26         litigation, or part of it, has been reached and its terms and conditions can
                                                             27         be determined, the court may enforce the agreement summarily as long
                                                             28         as the excuse for nonperformance of the agreement is comparatively
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                                                             1          insubstantial. Having second thoughts about the results of a valid
                                                             2          settlement agreement does not justify setting aside an otherwise valid
                                                             3          agreement, and the fact that the agreement is not in writing does not
                                                             4          render it unenforceable. Thus, to exercise its inherent power to enforce a
                                                             5          settlement agreement, a district court (1) must find that the parties
                                                             6          reached a complete agreement and (2) must be able to determine its
                                                             7          terms and conditions. (internal citations and quotations omitted).
                                                             8    Id. at 540-541. [emphasis added]
                                                             9          The Circuit Court in Hensley found that the district court should have held a
                                                             10 plenary evidentiary hearing prior to granting the motion to enforce the settlement, and
                                                             11 remanded the matter to the district court to conduct a hearing: "if the court finds that
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                                                             12 a settlement was reached and is able to determine the terms and conditions of the
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                                                             13 settlement, it may enforce the settlement agreement through an order." Id. at 542; See
                              Los Angeles, CA 90071




                                                             14 also Tiger Bay Village Corp. v. Yihe Corp., 2014 WL 3662259 (C.D.Cal.
                                                             15 2014)(Diversity jurisdiction: "To be enforced, a settlement agreement must meet two
                                                             16 requirements. First, it must be a complete agreement. Second, both parties must have
                                                             17 either agreed to the terms of the settlement or authorized their respective counsel to
                                                             18 settle the dispute. Thus, if parties have agreed to be bound by a complete settlement
                                                             19 agreement, a court may enter a judgment pursuant to the agreement's terms.")(internal
                                                             20 citations omitted).
                                                             21         In AT & T Mobility LLC v. Yeager, 2014 WL 6633374 (E.D.Cal. 2014), the
                                                             22 district court considered whether a settlement agreement was enforceable in a
                                                             23 malpractice action removed to the district court under diversity jurisdiction. In
                                                             24 holding that the oral out-of court settlement agreement was enforceable, the Court
                                                             25 considered whether the agreement was a binding contract under California law: "In
                                                             26 California, an oral agreement may give rise to a binding contract. If two parties reach
                                                             27 an oral agreement, that agreement may in some cases be enforced even if the parties
                                                             28 expected a written agreement would follow. A negotiated oral agreement becomes
                                                                                                        5
                                                                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1    binding, even when the parties expected to sign a written agreement, only if the oral
                                                             2    agreement's terms are “definitely understood.” Id. at *2 (internal citations omitted) 2.
                                                             3             Thus, whether considered under the court’s inherent authority or by applying
                                                             4    California contract law, this Court should enforce the settlement between Victor and
                                                             5    Plaintiff if it finds that:
                                                             6             1.    Plaintiff and Victor entered into a complete agreement.
                                                             7             2.    The terms and conditions of the agreement are understood.
                                                             8             Here, both conditions are satisfied and the Court should enforce the settlement
                                                             9    agreement. 3
                                                             10            B.    The Settlement Between Victor and Plaintiff Should Be Enforced
                                                             11            Plaintiff and Victor entered into a complete agreement. The terms and
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                                                             12 conditions were simple, understood by all parties, and can be understood by this
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                                                             13 Court. Victor agreed to pay to plaintiff the sum of $27,500, which Plaintiff agreed to
                              Los Angeles, CA 90071




                                                             14 accept in exchange for dismissal of his claims against Victor. Plaintiff’s
                                                             15 memorialized his agreement to the settlement in writing from his counsel:
                                                             16
                                                             17
                                                             18   2
                                                                    See also Sheikhpour v. Chevron U.S.A. Inc., 2011 WL 9692398 (9th Cir)(Complaint
                                                                  filed in Central District of California included state law claims; Ninth Circuit
                                                             19   affirmed plaintiff's motion to enforce the parties' settlement agreement); Tai Ham v.
                                                                  Selectron Intern. Optronics, LLC, 324 Fed.Appx. 583 (9th Cir. Cal. 2009)(jurisdiction
                                                             20   based on diversity).
                                                                  3
                                                             21     To the extent plaintiff may argue that the California enforcement procedural statute
                                                                  CCP §664.6 applies in this diversity action, it does not supersede this court's inherent
                                                             22   authority to enforce a settlement agreement. While the statute creates an expedited
                                                                  procedure for the enforcement of certain settlement agreements, it does not supplant
                                                             23   other available means of enforcing a settlement contract. Schaffer v. Litton Loan
                                                                  Servicing, LP 2010 WL 9951762 fn. 58 (C.D.Cal); Inamed Corp. v. Kuzmak, 275
                                                             24   F.Supp.2d 1100, 1119 (C.D.Cal.2002)(The California Supreme Court has not
                                                                  construed § 664.6 to mean that “no settlement agreement is enforceable in California
                                                             25   unless signed by the client him or herself”.); See also Facebook, Inc. v. ConnectU,
                                                                  Inc. 2008 WL 8820476 (N.D.Cal.) ("In addition to the statutory power [of 664.6] to
                                                             26   enter a judgment, the court's enforcement powers include the inherent authority to
                                                                  order a party's specific performance of acts required by the settlement agreement and
                                                             27   to award damages or other sanctions for noncompliance."); Levy v. Superior Court,
                                                                  10 Cal.4th, 578, 586 n. 5 (1995)(“We note that this statutory procedure is not the
                                                             28   exclusive means to enforce a settlement.”)
                                                                                                               6
                                                                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1          Shelly,
                                                             2          Plaintiff will settle at $27,500 as to Victor ONLY.
                                                             3          Best, Kevin.
                                                             4    Exh.1.
                                                             5          The settlement terms were and are very simple:
                                                             6                a.       Victor pays Mr. Walter $27,500.
                                                             7                b.       Plaintiff dismisses the case against Victor.
                                                             8                c.       Victor would seek a good faith settlement determination.
                                                             9          While Victor did send a formal written settlement agreement to Plaintiff, the
                                                             10 parties never discussed the need for a formal written agreement to consummate the
                                                             11 settlement. AT & T Mobility LLC v. Yeager, 2014 WL 6633374 (E.D.Cal. 2014)(“If
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                                                             12 two parties reach an oral agreement, that agreement may in some cases be enforced
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                                                             13 even if the parties expected a written agreement would follow”). The same is true
                              Los Angeles, CA 90071




                                                             14 under California contract law. Khajavi v. Feather River Anesthesia Medical Group,
                                                             15 84 Cal.App.4th 32, 61-62 (2000)(“Negotiations can result in a binding oral contract
                                                             16 “when all of the terms are definitely understood, even though the parties intend to
                                                             17 later execute a formal writing.”); See also Banner Entertainment, Inc. v. Superior
                                                             18 Court, 62 Cal.App.4th 348, 358 (1998). Indeed, Victor understood (as Plaintiff did)
                                                             19 that the matter had been settled, and, in reliance on its settlement agreement with
                                                             20 Plaintiff, Victor:
                                                             21               1.       Dismissed its cross-claims against Goss, in exchange for Goss
                                                             22               dismissing its claims against Victor. Hurwitz Decl., ¶10; Exh. 4. The
                                                             23               dismissal of Victor’s cross-claim was served on Plaintiff on January 7,
                                                             24               2015.
                                                             25               2.       Conferred with all counsel in an effort to obtain a stipulation to
                                                             26               the good faith of the settlement, or to hold a Rule 7 Local Meeting of
                                                             27               Counsel. Hurwitz Decl., ¶9; Exh. 3.
                                                             28               3.       Prepared a Motion for Good Faith Settlement. Hurwitz Decl., ¶9;
                                                                                                             7
                                                                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
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                                                             1                 4.     Instructed its expert to cease all further work. Exh. 6.
                                                             2          In sum, the terms and conditions of Victor and Plaintiff’s complete agreement
                                                             3    are easily understood, and the court should therefore enforce the settlement.
                                                             4          Plaintiff’s only reason for not adhering to his obligations under the agreement
                                                             5    were his “second thoughts” about the settlement apparently based on his misreading
                                                             6    of aspects of Western’s expert report, a report that presents no product liability defect
                                                             7    theory of liability against Victor. Hurwitz Decl., ¶14. Plaintiff cannot unilaterally
                                                             8    rescind the binding settlement agreement based on his “second thoughts.” See
                                                             9    Hensley, at 540-541. The settlement agreement must be enforced.
                                                             10 IV.     CONCLUSION
                                                             11         For the reasons set forth above, Victor respectfully requests that the Court
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                                                             12 grant the instant motion, and issue an order requiring plaintiff to dismiss this action
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                                                             13 upon payment of $27,500 by Victor to Plaintiff.
                              Los Angeles, CA 90071




                                                             14
                                                             15                                    Respectfully submitted,

                                                             16 January_21, 2015                   HOLLAND & KNIGHT LLP
                                                             17
                                                             18                                    By: /s/ Shelley Hurwitz
                                                                                                          Shelley G. Hurwitz
                                                             19
                                                                                                          Attorney for Defendant and Cross-Defendant
                                                             20                                           Victor Technologies International, Inc.
                                                             21
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                                                                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
                                                                                                    AGREEMENT
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                                                             1                                 CERTIFICATE OF SERVICE
                                                             2          I hereby certify that on January 21, 2015, I electronically filed the foregoing
                                                             3    with the Clerk of Court using the EM/ECF system which will send a notice of
                                                             4    electronic filing to all counsel of record who have consented to electronic
                                                             5    notification.
                                                             6
                                                                                                              /s/ Shelley G. Hurwitz
                                                             7                                                Shelley G. Hurwitz
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                       Tel: 213.896.2400 Fax: 213.896.2450




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                          400 South Hope Street, 8th Floor
Holland & Knight LLP




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                              Los Angeles, CA 90071




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